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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                               01/11/2021
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MARCOS CALCANO,

                                                Plaintiff,                        20-CV-6701 (LTS) (KHP)

                             -against-                                        ORDER SCHEDULING SETTLEMENT
                                                                                      CONFERENCE

JAMESTOWN STAMP COMPANY, INC.,


                                                Defendant.

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KATHARINE H. PARKER, United States Magistrate Judge:

         A telephonic settlement conference in this matter is scheduled for Friday, February 26,

2021 at 10:00 a.m. Counsel for the parties are directed to call Judge Parker’s court conference

line at the scheduled time. Please dial (866) 434-5269, Access code: 4858267. Corporate

parties must send the person with decision making authority to settle the matter to the

conference. The parties are instructed to complete the Settlement Conference Summary

Report and prepare pre-conference submissions in accordance with the Judge Parker’s

Individual Rules of Practice. Pre-conference submissions must be received by the Court no later

than February 19, 2021 by 5:00 p.m.

         SO ORDERED.

DATED:             New York, New York
                   January 11, 2021

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                                                                     KATHARINE H. PARKER
                                                                     United States Magistrate Judge
